          Case 1:18-cv-01252-ABJ Document 7 Filed 10/10/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  CITIZENS UNITED,

          Plaintiff,

  v.                                                  Civil Action No. 18-1252 (ABJ)

  U.S. DEPARTMENT OF STATE,

          Defendant.


            DEFENDANT’S STATUS REPORT AND PROPOSED SCHEDULE

       Defendant U.S. Department of State (“State”), by and through undersigned counsel,

respectfully submits this status report and proposed schedule in response to the Court’s Minute

Order, dated September 12, 2018.

       On May 30, 2018, Plaintiff Citizens United brought an action against State under the

Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, to compel State to conduct a search

records responsive to its FOIA request and to produce all responsive non-exempt records by a

date certain. Compl., ECF No. 1 (May 30, 2018). State had initially rejected the request as

improper because it had failed to reasonably describe the records sought. Id. ¶ 11. Citizens

United claims that State’s refusal to process the request and conduct a search violated FOIA. Id.

¶¶ 12–13. Citizens United seeks injunctive, declaratory, and other relief. Id. at pp. 4–5.

       On August 17, 2018, State determined that this request should not have been rejected for

failing to reasonably describe the records and that it should instead be processed. Accordingly,

State reconsidered its initial determination and re-opened the request. Pursuant to the Court’s

July 13, 2018, Minute Order, Defendant filed an Answer to the Complaint on September 10,

2018. ECF No. 6.
           Case 1:18-cv-01252-ABJ Document 7 Filed 10/10/18 Page 2 of 2



       To date, State has not located any responsive records, but its search is not yet complete.

Defendant estimates that the search can be completed by October 31, 2018, and that it can advise

Plaintiff shortly thereafter whether any responsive records have been located. Based on the

foregoing, Defendant proposes that the Court direct the parties to file a joint status report by

November 7, 2018 to report to the Court on the results of State’s search and propose a schedule

for further proceedings, if necessary. The undersigned shared a draft of this status report and

conferred with Plaintiff’s counsel about this proposal. Plaintiff, through counsel, consents to

Defendant’s proposed schedule.

       For the foregoing reasons, and for good cause shown, Defendant respectfully requests

that the Court adopt Defendant’s proposed schedule for further proceedings and direct the parties

to file a joint status report on or before November 7, 2018.



October 10, 2018                              Respectfully submitted,

                                              JESSIE K. LIU
                                              D.C. Bar 472845
                                              United States Attorney

                                              DANIEL F. VAN HORN
                                              D.C. Bar 924092
                                              Chief, Civil Division

                                       By:     /s/ Daniel P. Schaefer
                                              DANIEL P. SCHAEFER
                                              D.C. Bar 996871
                                              Assistant United States Attorney
                                              555 4th Street, N.W.
                                              Washington, D.C. 20530
                                              Tel: (202) 252-2531
                                              E-mail: Daniel.Schaefer@usdoj.gov




                                                  2
